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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF OREGON


BRADLEY B. D.,1                                          3:19-cv-01856-BR

             Plaintiff,                                  OPINION AND ORDER

v.

Commissioner, Social
Security Administration,

             Defendant.


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     1
       In the interest of privacy this Court uses only the first
name and the initial of the last name of the nongovernmental
party in this case.

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BROWN, Judge.

     Plaintiff Bradley B. D. seeks judicial review of a final

decision of the Commissioner of the Social Security

Administration (SSA) in which he denied Plaintiff's application

for Disability Insurance Benefits (DIB) under Title II of the

Social Security Act.

     This matter is now before the Court on Plaintiff’s Complaint

in which he seeks review of the Commissioner’s decision and the

Commissioner's Motion to Remand (#17) for further administrative

proceedings.

     Following a review of the record, the Court REVERSES the

Commissioner's decision, GRANTS the Commissioner's Motion to

Remand for further administrative proceedings, and REMANDS this

matter pursuant to sentence four of 28 U.S.C. § 405(g) for

further administrative proceedings consistent with this Opinion

and Order.




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                             ADMINISTRATIVE HISTORY

       Plaintiff filed an application for DIB on June 3, 2016,

alleging a disability onset date of December 5, 2015.                     Tr. 171-

74.2   The application was denied initially and on

reconsideration.         On April 2, 2018, Plaintiff amended his alleged

onset date to January 1, 2015.             Tr. 184.     An Administrative Law

Judge (ALJ) held a hearing on October 5, 2018.                     Tr. 32-58.

Plaintiff was represented by an attorney at the hearing.

Plaintiff and a vocational expert (VE) testified.

       The ALJ issued a decision on December 20, 2018, in which she

found Plaintiff is not disabled, and, therefore, Plaintiff is

not entitled to benefits.            Tr. 13-26.     Pursuant to 20 C.F.R.

§ 404.984(d), that decision became the final decision of the

Commissioner on September 19, 2019, when the Appeals Council

denied Plaintiff's request for review.               Tr. 1-6.        See Sims v.

Apfel, 530 U.S. 103, 106-07 (2000).



                                      BACKGROUND

       Plaintiff was born on March 10, 1971.              Tr. 171.       Plaintiff

was 47 years old at the time of the hearing.                 Plaintiff has a

high-school education.             Tr. 210.   Plaintiff has past relevant

work experience as an independent contractor, “building materials


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       Citations to the official transcript of record filed by
the Commissioner on March 27, 2020, are referred to as "Tr."

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safe attendant,” forklift operator, and stock clerk.               Tr. 24.

     Plaintiff alleges disability due to obesity, “mental health

issues,” Obsessive Compulsive Disorder (OCD), and Schizoaffective

Disorder.   Tr. 100.

     Except when noted, Plaintiff does not challenge the ALJ’s

summary of the medical evidence.        After carefully reviewing the

medical records, this Court adopts the ALJ’s summary of the

medical evidence.      See Tr. 21-24.



                                STANDARDS

     The initial burden of proof rests on the claimant to

establish disability.      Molina v. Astrue, 674 F.3d 1104, 1110 (9th

Cir. 2012).   To meet this burden, a claimant must demonstrate his

inability "to engage in any substantial gainful activity by

reason of any medically determinable physical or mental

impairment which . . . has lasted or can be expected to last for

a continuous period of not less than 12 months."              42 U.S.C.

§ 423(d)(1)(A).    The ALJ must develop the record when there is

ambiguous evidence or when the record is inadequate to allow for

proper evaluation of the evidence.          McLeod v. Astrue, 640 F.3d

881, 885 (9th Cir. 2011)(quoting Mayes v. Massanari, 276 F.3d

453, 459–60 (9th Cir. 2001)).

     The district court must affirm the Commissioner's decision

if it is based on proper legal standards and the findings are


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supported by substantial evidence in the record as a whole.                  42

U.S.C. § 405(g).    See also Brewes v. Comm’r of Soc. Sec. Admin.,

682 F.3d 1157, 1161 (9th Cir. 2012).         Substantial evidence is

“relevant evidence that a reasonable mind might accept as

adequate to support a conclusion.”          Molina, 674 F.3d. at 1110-11

(quoting Valentine v. Comm’r Soc. Sec. Admin., 574 F.3d 685, 690

(9th Cir. 2009)).   It is more than a mere scintilla [of evidence]

but less than a preponderance.       Id. (citing Valentine, 574 F.3d

at 690).

     The ALJ is responsible for determining credibility,

resolving conflicts in the medical evidence, and resolving

ambiguities.    Vasquez v. Astrue, 572 F.3d 586, 591 (9th Cir.

2009).    The court must weigh all of the evidence whether it

supports or detracts from the Commissioner's decision.               Ryan v.

Comm’r of Soc. Sec., 528 F.3d 1194, 1198 (9th Cir. 2008).               Even

when the evidence is susceptible to more than one rational

interpretation, the court must uphold the Commissioner’s findings

if they are supported by inferences reasonably drawn from the

record.    Ludwig v. Astrue, 681 F.3d 1047, 1051 (9th Cir. 2012).

The court may not substitute its judgment for that of the

Commissioner.    Widmark v. Barnhart, 454 F.3d 1063, 1070 (9th Cir.

2006).




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                          DISABILITY ANALYSIS

I.   The Regulatory Sequential Evaluation

     The Commissioner has developed a five-step sequential

inquiry to determine whether a claimant is disabled within the

meaning of the Act.     Parra v. Astrue, 481 F.3d 742, 746 (9th Cir.

2007).   See also 20 C.F.R. § 404.1520.        Each step is potentially

dispositive.

     At Step One the claimant is not disabled if the Commissioner

determines the claimant is engaged in substantial gainful

activity.   20 C.F.R. § 404.1520(a)(4)(I).         See also Keyser v.

Comm’r of Soc. Sec., 648 F.3d 721, 724 (9th Cir. 2011).

     At Step Two the claimant is not disabled if the Commissioner

determines the claimant does not have any medically severe

impairment or combination of impairments.          20 C.F.R. §§ 404.1509,

404.1520(a)(4)(ii).     See also Keyser, 648 F.3d at 724.

     At Step Three the claimant is disabled if the Commissioner

determines the claimant’s impairments meet or equal one of the

listed impairments that the Commissioner acknowledges are so

severe as to preclude substantial gainful activity.              20 C.F.R.

§ 404.1520(a)(4)(iii).       See also Keyser, 648 F.3d at 724.          The

criteria for the listed impairments, known as Listings, are

enumerated in 20 C.F.R. part 404, subpart P, appendix 1 (Listed

Impairments).

     If the Commissioner proceeds beyond Step Three, he must


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assess the claimant’s residual functional capacity (RFC).              The

claimant’s RFC is an assessment of the sustained, work-related

physical and mental activities the claimant can still do on a

regular and continuing basis despite his limitations.             20 C.F.R.

§ 404.1520(e).   See also Social Security Ruling (SSR) 96-8p.                “A

'regular and continuing basis' means 8 hours a day, for 5 days a

week, or an equivalent schedule."      SSR 96-8p, at *1.         In other

words, the Social Security Act does not require complete

incapacity to be disabled.     Taylor v. Comm’r of Soc. Sec. Admin.,

659 F.3d 1228, 1234-35 (9th Cir. 2011)(citing Fair v. Bowen, 885

F.2d 597, 603 (9th Cir. 1989)).

     At Step Four the claimant is not disabled if the

Commissioner determines the claimant retains the RFC to perform

work he has done in the past.      20 C.F.R. § 404.1520(a)(4)(iv).

See also Keyser, 648 F.3d at 724.

     If the Commissioner reaches Step Five, he must determine

whether the claimant is able to do any other work that exists in

the national economy.    20 C.F.R. § 404.1520(a)(4)(v).           See also

Keyser, 648 F.3d at 724-25.     Here the burden shifts to the

Commissioner to show a significant number of jobs exist in the

national economy that the claimant can perform.             Lockwood v.

Comm’r Soc. Sec. Admin., 616 F.3d 1068, 1071 (9th Cir. 2010).

The Commissioner may satisfy this burden through the testimony of

a VE or by reference to the Medical-Vocational Guidelines set


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forth in the regulations at 20 C.F.R. part 404, subpart P,

appendix 2.    If the Commissioner meets this burden, the claimant

is not disabled.     20 C.F.R. § 404.1520(g)(1).



                               ALJ'S FINDINGS

       At Step One the ALJ found Plaintiff has not engaged in

substantial gainful activity since his January 1, 2015, amended

alleged onset date.     Tr. 15.

       At Step Two the ALJ found Plaintiff has the severe

impairments of morbid obesity, OCD, and Schizoaffective Disorder.

Tr. 15.

       At Step Three the ALJ concluded Plaintiff's medically

determinable impairments do not meet or medically equal one of

the listed impairments in 20 C.F.R. part 404, subpart P, appendix

1.   Tr. 17.   The ALJ found Plaintiff has the RFC to perform light

work

            except he can occasionally climb ramps and stairs,
            but never ropes, ladders, or scaffolds; he can
            occasionally stoop, crouch, and balance, but never
            crawl or kneel; he should be able to change
            positions in 30 minute intervals; he can do simple
            routine tasks with occasional superficial
            interaction with the public and coworkers; he
            should avoid concentrated exposure to hazards.

Tr. 18.

       At Step Four the ALJ found Plaintiff cannot perform his past

relevant work.    Tr. 24.

       At Step Five the ALJ found Plaintiff can perform other work

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that exists in the national economy.           Tr. 24.    Accordingly, the

ALJ concluded Plaintiff is not disabled.



                                  DISCUSSION

        Plaintiff contends the ALJ erred when she failed to address

the opinion of James MacMillian, M.D., treating psychiatrist, and

partially rejected the opinions of Scott Kaper, Ph.D., reviewing

psychologist.

        In Defendant’s Brief and Motion to Remand (#17) Defendant

contends the ALJ did not fail to address an opinion of

Dr. MacMillian.      Defendant, however, concedes the ALJ erred in

her assessment of Dr. Kaper’s opinion and contends the Court

should remand this matter for further administrative proceedings.

Plaintiff, in turn, asserts this Court should remand the matter

for an immediate award of benefits.

I.      The ALJ did not err when she did not specifically address
        the individual treatment notes of Dr. MacMillian.

        Plaintiff alleges the ALJ erred when she did not address the

opinions of Dr. MacMillian related to Plaintiff’s ability to

work.    As Defendant points out, however, the items Plaintiff

refers to as “opinions” are, in fact, treatment notes, and ALJs

are not required to address individual treatment notes.                 See,

e.g., Valentine v. Comm'r, 574 F.3d 685, 691-92 (9th Cir. 2009)

(“Dr. Storzbach's observation about ‘highly routinized,

overlearned tasks with low cognitive demand’ is neither a

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diagnosis nor a statement of Valentine's functional capacity.                It

is rather a recommended way for Valentine to cope with his PTSD

symptoms.   The ALJ therefore did not err by excluding it from the

RFC.”); Kenwyn B. v. Comm'r, Soc. Sec. Admin., No. 1:19-CV-

01128-BR, 2020 WL 1812831, at *6 (D. Or. Apr. 9, 2020)

(“Dr. Grant's chart treatment notes are recommendations rather

than a medical opinion, and, as such, the ALJ was not required to

address or to include them in his analysis.”); Young v. Saul,

No. 19-CV-01965-PJH, 2020 WL 3506805, at *17 (N.D. Cal. June 29,

2020)(“Because Drs. Phillips and Boutelle’s reports were

treatment notes, the ALJ was not required to specifically address

their reports. . . .     Thus, the ALJ did not err by failing to

specifically address Drs. Phillips and Boutelle’s treatment

notes.”).

      The Court, therefore, concludes the ALJ did not err when she

did not address the individual treatment notes of Dr. MacMillian.

II.   The Court remands this matter for further administrative
      proceedings.

      As noted, Plaintiff contends the ALJ erred when she

partially rejected Dr. Kaper’s opinions and asserts the Court,

therefore, should remand this matter for the immediate

calculation and award of benefits.          Defendant concedes the ALJ

erred when she partially rejected Dr. Kaper’s opinions, but

Defendant moves to remand this matter for further administrative

proceedings on the ground that the record does not conclusively

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establish that Plaintiff is disabled.

     The decision whether to remand for further proceedings or

for immediate payment of benefits generally turns on the likely

utility of further proceedings.      Harman v. Apfel, 211 F.3d 1172,

1179 (9th Cir. 2000).   When "the record has been fully developed

and further administrative proceedings would serve no useful

purpose, the district court should remand for an immediate award

of benefits."   Benecke v. Barnhart, 379 F.3d 587, 593 (9th Cir.

2004).

     The decision whether to remand this case for further

proceedings or for the payment of benefits is a decision within

the discretion of the court.      Harman, 211 F.3d 1178.

     The decision whether to remand for further proceedings or

for immediate payment of benefits generally turns on the likely

utility of further proceedings.      Id. at 1179.       The court may

"direct an award of benefits where the record has been fully

developed and where further administrative proceedings would

serve no useful purpose."      Smolen, 80 F.3d at 1292.

     The Ninth Circuit has established a three-part test "for

determining when evidence should be credited and an immediate

award of benefits directed."      Harman, 211 F.3d at 1178.          The

Court should grant an immediate award of benefits when:

          (1) the ALJ has failed to provide legally
          sufficient reasons for rejecting . . .
          evidence, (2) there are no outstanding issues
          that must be resolved before a determination

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           of disability can be made, and (3) it is
           clear from the record that the ALJ would be
           required to find the claimant disabled were
           such evidence credited.

Id.   The second and third prongs of the test often merge into a

single question:    Whether the ALJ would have to award benefits if

the case were remanded for further proceedings.              Id. at 1178 n.2.

      On February 15, 2017, Dr. Kaper reviewed Plaintiff’s medical

record and completed a Mental Residual Functional Capacity (MRFC)

Statement in which he stated Plaintiff is not significantly

limited in his ability to carry out “very short and simple

instructions”; to “perform activities within a schedule, maintain

regular attendance, and be punctual within customary tolerances”;

to “sustain an ordinary routine with out special supervision”;

“to work in coordination with or in proximity to others with out

being distracted by them”; to make “simple work-related

decisions”; to “ask simple questions or request assistance”; to

“get along with coworkers or peers without distracting them or

exhibiting behavioral extremes”; to “maintain socially

appropriate behavior and to adhere to basic standards of neatness

and cleanliness”; to “be aware of normal hazards and take

appropriate precautions”; and to “travel in unfamiliar places or

use public transportation.”       Tr. 92-93.     Dr. Kaper stated

Plaintiff is moderately limited in his ability to “complete a

normal workday and workweek without interruptions from

psychologically based symptoms and to perform at a consistent

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pace without an unreasonable number and length of rest periods”;

to “interact appropriately with the general public”; to “accept

instructions and respond appropriately to criticism from

supervisors”; to “respond appropriately to changes in the work

setting”; and to “set realistic goals or make plans independently

of others.”       Tr. 92-93.   Dr. Kaper also stated Plaintiff is

markedly limited in his ability to carry out detailed

instructions and to maintain attention and concentration “for

extended periods.”      Tr. 92.    Dr. Kaper noted:

             Due to poor coping skills for stress, clmt is
             limited to a very simple, routine job. Even in
             that context, the clmt will occasionally be unable
             to complete a normal work week without
             interruptions from his psych sx. In the setting
             of a simple, routine job, adherence to his
             medications and abstinence from ETOH, clmt will
             miss two days per month of work or less.

Tr. 93.

     The ALJ gave “[s]ome but less than great weight” to

Dr. Kaper’s opinions.      The ALJ, however, did not provide any

basis for disregarding Dr. Kaper’s statement that Plaintiff would

“miss two days per month of work or less” due to his psychiatric

symptoms.    Plaintiff asserts this error is harmful because at the

October 25, 2018, hearing the VE testified such an individual

would not be employable.       Plaintiff points to the following

exchange between Plaintiff’s counsel and the VE to support his

assertion:

             Q.     If we have a person who has good days and bad

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                days and . . . if they miss work - not
                necessarily a whole day but if they miss 16
                hours out of a month what is the impact there
                in the unskilled work arena?

           A.   It doesn't have -- a person can[] get sick
                and miss two or three days of the flu or
                something but if it is on an irregular basis
                and sporadic that's not going to be
                sustainable in this type of work environment.

           Q.   Would -- if it is unpredictable would even
                eight hours be enough to prevent them from
                being employable?

           A.   That is kind of on the cusp, counsel. But
                anything beyond that would be beyond the
                reasonable expectations.

           Q.   All right. So if we are at 9 or 10 . . .
                hours, you are getting close. Is that right?

           A.   Yes.

Tr. 58.   Based on the VE’s testimony and Dr. Kaper’s statement

that Plaintiff would miss two or fewer days of work per month,

Plaintiff contends the ALJ would be required to find Plaintiff is

disabled, and, therefore, the Court should remand this matter for

the immediate calculation and award of benefits.

     As noted, Defendant concedes the ALJ erred when she did not

address Dr. Kaper’s statement that Plaintiff would miss two days

“or less” of work per month.      Defendant, however, points out that

the VE specifically declined to agree that missing one day of

work per month would be sufficient to render Plaintiff

unemployable.   In addition, the VE testified an individual who

missed 16 hours of work per month on an “irregular” or “sporadic”


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basis would be unemployable, but Dr. Kaper did not state whether

Plaintiff would miss two or fewer days of work per month on a

sporadic or irregular basis.      According to Defendant, therefore,

even if the ALJ fully credited Dr. Kaper’s statement, it is not

clear on this record that the ALJ would be required to find

Plaintiff disabled.

     The Court concludes on this record that Defendant has

established there are outstanding issues that must be resolved

before a determination of disability can be made and it is

unclear from the record that the ALJ would be required to find

Plaintiff disabled if Dr. Kaper’s opinion was credited.              The

Court, therefore, concludes this matter should be remanded for

further administrative proceedings.        See Schneider v. Comm’r, 223

F.3d 968 (9th Cir. 2000).

     Accordingly, the Court remands this matter to the

Commissioner for further administrative proceedings.



                               CONCLUSION

     For these reasons, the Court REVERSES the decision of the

Commissioner, GRANTS the Commissioner's Motion (#17) to Remand

for further administrative proceedings, and REMANDS this matter




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pursuant to sentence four of 28 U.S.C. § 405(g) for further

proceedings consistent with this Opinion and Order.

     IT IS SO ORDERED.

     DATED this 10th day of November, 2020.




                                       /s/ Anna J. Brown

                                  ANNA J. BROWN
                                  United States Senior District Judge




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